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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:20-CV-21494-COOKE

 JORGE ARMANDO ANCHICOQUE,

          Plaintiff,

 vs.

 OCCASIONS INC,
 RUBEN RUDA, and
 ASTRID SUS,

       Defendants.
 ______________________________/

                           PLAINTIFF’S NOTICE OF RULE 41
                        VOLUNTARY DISMISSAL WITH PREJUDICE

          Plaintiff hereby notices the voluntary dismissal of this action with prejudice pursuant to

 Fed. R. Civ. P. 41(a)(1)(A)(ii). See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir.

 2012).

          Respectfully submitted on this 28th day of April 2020.


                                                        Brian H. Pollock, Esq.
                                                        Brian H. Pollock, Esq. (174742)
                                                        brian@fairlawattorney.com
                                                        FAIRLAW FIRM
                                                        7300 N. Kendall Drive
                                                        Suite 450
                                                        Miami, FL 33156
                                                        Tel: 305.230.4884
                                                        Counsel for Plaintiff




                            7300 N. Kendall Drive, Suite 450, Miami, FL 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
